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Exhibit “7”



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                       DECLARATION OF                  Jane Doe 3

        I, Jane Doe 3 , declare under criminal penalty under the law of Utah that the foregoing

is true and correct:

        1.      I am over the age of eighteen and competent to testify to the statements herein.

        2.      Around the time I was eight years old, Perpetrator married my mother,Mother 2 .

Shortly after the wedding, we moved to Cottonwood Heights. There, Perp. began to sexually assault

me and my siblings. This continued until I reached puberty, which was around age 13. When I

reached puberty, the sexual assaults not only abruptly stopped, but Perp. started to treat me like I

didn’t exist.

        3.      The sexual assaults were horrific. Painful, both emotionally and physically.   Perp.



would take me into the upstairs bathroom and sexually assault and rape me. This included

fondling, and vaginal and anal rape with his finger. He also vaginally and anally raped me with

his penis and other objects, like brush handles.

        4.      At other times, he would make me perform oral sex on him. He typically wasn’t

naked, but wearing his temple garments. He would expose himself and make me perform

oral sex on him. When he was finished, he would often ejaculate on me. These sexual assaults/

rapes happened about twice a week from the time he married my mother until I reached puberty.

Attached as Exhibit A is a record of an interview from August of 1995 where I explain these

assaults.

        5.      Most of the abuse took place in the upstairs bathroom. A few times it occurred in

my parents’ room as well.    Perp.
                                     would make me watch porn movies with him there. I remember

them being especially graphic movies, with oversized dildos and object penetration. I was

shocked because it appeared the actors were enjoying this. When Perp. penetrated me with objects,

it hurt so much and was more of a punishment.                  Exhibit 7 to Complaint, page 2 of 7
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             6.     During this time, my mother had a very time-consuming calling in the Church. I

believe she was in the Stake Relief Society Presidency and a homemaking supervisor. I remember

her always being gone for Church-related business. When she was home, she slept most of the

time. My mother had TMJ and other health related issues. She had several prescriptions for these

health-related issues. She would take her pills and sleep. The sexual assaults and rapes occurred

when my Mom was either out of the house or sleeping downstairs.

             7.     Growing up, I assumed that the repeated sexual assaults and rapes were

punishment. I always thought I was doing something wrong, and that if I was good enough, the

sexual abuse would stop.

             8.     When I was 12 years old, I told my Bishop, Bishop                       M. , about the sexual
assaults and rapes. He appeared shocked and in disbelief. He said he would investigate. Nothing

was done. This further certified to me that it was my fault.

             9.     After my disclosure to Bishop         M. , the sexual assault/rapes of me and my sister
Jane Doe 4
             continued. It seemed to get worse. Around this time, my mother became aware of what

was going on. She eventually called the police. The police started investigating Perp. .

             10.    In addition to sexually abusing my sister
                                                                   Jane Doe 4
                                                                                , I believe that Perp. sexually abused

my half-brothers Justin and                   as well. After the police became involved, Perp. and my mom
                                 John Doe 2




split up. I recall my younger brothers being hysterical whenever they were told that they were

going to our paternal grandmother,                  LS    ’s house.     Perp.
                                                                                  would make them go there for

swimming. After their first few visits to            LS ’s house, I put my foot down and said I wouldn’t
let the boys go over without me.         Perp.
                                                 backed off shortly thereafter. I didn’t think about what had

happened there, I just didn’t want anything to happen to them.                                      would also become
                                                                                       John Doe 2




hysterical if Perp. were ever to change his diaper. This is a distinct memory I have that led me to


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believe Perp. was touching my younger brothers as well.


       Signed on the __20___ day of August, 2018, at ___Salt Lake City______________ (city

or county), ____Utah_____________ (state).


                                             Jane Doe 3




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Exhibit “A”
         to Declaration of
           Jane Doe 3



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                               Department of Human Services

                               ANN SILVERBERB WILLIAMSON
                               &ecutive Director

                               Division of Child and Family Services
State of Utah                  DIANEMO0RE
                               Director
GARY R. HERBERT                Salt Lake Valley Region
     Governor

 SPENCER J. COX                RAYHARRIS
                               Director
.Lieutenant Governor


      August 23, 2018

      Craig Vernon                                 E-mail: CVemon@NWLaw.net
      1626 Lincoln Way
      Coeur d'Alene ID 83814

      Dear 1,1:r, Vernon:

      Your request for records from the Division of Child and Family Services has been reviewed and completed. I have denied in
      whole or in part, your request for these records. Please see remarks below for explanation regarding your specific records
      request.

      X           The names, addresses, telephone numbers, and specific infonnation that could identify or lead to
                  the discovery of the identity of the person(s) making the initial report (referent). (UCA §62A-4a-
                  412(3)).

      X          Pursuant to Utah Code Ann. § 63G-2-302, the information is classified as private. Such as other
                 persons information.

      [ ]        Discussion between the Child and Family Services and their attorney

      [ ]        Information withheld due to Federal law restriction on disclosure on substance abuse, Cite to 42
                 C.F.R. Part 2 Such as other person's drug testing results or evaluations.

     X           Pursuant to Utah Code Atm. §63G-2-202 (10), a record contained in the DCFS Management
                 Information System that is found to be unsubstantiated, unsupported, or without merit may not be
                 disclosed to any person except the person who is alleged in the report to be a perpetrator of abuse,
                 neglect, or dependency. CPS 512495

     You have the right to appeal the denial of any withheld information If you choose to do so you will need to send a
     written statement, within 30 days of receipt of this letter to:
                               Chief Administrative Officer, Department of Human Services,
                                           195 North 1950 West, SLC, Utah 84116
     Your appeal must contain your name, your mailing address, your daytime tel ephone number and a statement of the
     relief you seek. If you have any questions, please contact me at 801-253-5747 or slgrama(@utah.gov

     Sincerely,


     su.e Svt.<.f,th
     Sue Smith
     GRAMA Specialist
     SaltLake Valley Region, Auditor




            12537 South Crossing Road Drive Riverton Utah 84096 • telephone (801) 253-5720 • facsimile (801) 253-5756 • www.utah.gov



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         :i•
                  / Both Hsted vi~;;;~ we;~ bro~g~tto          c~c
                                                              by their mother.•. Mothe~ was
                  ·. present as support for the girls, however, did not actually sit in on the
                   · interviews with them.

                      • Jane Doe 3 was interview ed first. She disclose d being sexually abused by her
                  •: step-father, Perp.. She stated the first time she was abused by him was
                     · when she was 7 years old and that the last time was in the 5th grade
                     . when she was about 1o. She stated that he would touch her "butt" with
                        his finger, tongue, and penis. She stated that their was digital
                        penetra tion to the vagina.
                                                          Jane Doe 3
                                                                     was having a very difficult time talking
                   ·• about the abuse. She appeare d embarra ssed and stated that she felt
                   .• like she was to blame. She stated that he would always take her into the
                     • bathroom and tell her she was being punsish ed for being bad. At the
                   ·•. same time he was sexually abusing her, he would spank or hit her across
                        the head for addition al punishm ent. As the interview went on she
                     · disclose d more types of abuse. She stated that he put his penis in her
                        "butt" - "mare than once". She stated that he did penetra te her both
                        annaly and vaginall y with his penis. She stated that he would also set
                        her on the toilet and then masturbated until he ejaculat ed on her. She
                        stated that it happen ed "a lot". It was always for punishment. He would
                        get her out of her room at night when her mom was gone to relief society
                        or another church meeting. She states that she thinks he has done this
                        to her sister and brothers. She states that one time he took her sister out
                        of the room they shared. She states he has been physica lly abusive to
                  · • brothers. They come back afraid after visits with him. She and her sister
                  •. do not have visits with their step-father. She states SF blamed the
                  f parents divorce on her and she is acceptin g the blame. The parents
                                                                                                           were.
                      . already in the process of a divorce when she told her mom about                the
                  \ sexual abuse. She didn't feel like her mom believed her at first, but now
                   ·· feels that her mom believes and is protecting.
                          Redacted to protect Plaintiff's identity
Redacted to protect Plaintiff's identity




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